Case 3:18-cv-00568-AC    Document 17-1   Filed 06/22/18   Page 1 of 19




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Of Attorneys for Plaintiffs


               UNITED STATES DISTRICT COURT

                      DISTRICT OF OREGON

                        PORTLAND DIVISION


CARLTON CHASE,                     Case No. 3:18-cv-00568-AC
ERIC MACCARTNEY and
LUANNE MUELLER,                    COVER SHEET
individually and on
behalf of all others,

                   Plaintiffs,

      v.

GORDON, AYLWORTH &
TAMI, P.C. and VISION
INVESTIGATIVE SERVICE,
LLC,

                   Defendants.




               EXHIBIT 1
COVER SHEET


                                                  Exhibit 1 – Page 1 of 19
                                                                               Case 3:18-cv-00568-AC         Document     17-1 Filed 06/22/18
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                                                                                                                     17CV19572




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                                                                                                    IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                                                       5                                       FOR CLACKAMAS COUNTY
                                                                       6
                                                                            MIDLAND FUNDING, LLC,                                         Case No. ____________________
                                                                       7
                                                                                                                     Plaintiff,                      COMPLAINT
                                                                       8 vs.                                                                   (For Breach of Contract)
                                                                                                                                                  ORS 21.160(1)(a)
                                                                       9                                                                  FOR A CLAIM LESS THAN $10,000
                                                                            CARLTON CHASE, IV,                                         SUBJECT TO MANDATORY ARBITRATION
                                                                       10                                                                      TOTAL CLAIM: $752.64
                                                                       11                                          Defendant.

                                                                       12
                                                                               Plaintiff alleges:            BREACH OF CONTRACT
                                                                       13
                                                                                                                                  1.
                                                                       14
                                                                               Plaintiff is a limited liability company, which for good and valuable consideration purchased
                                                                       15
                                                                            Defendant’s Synchrony Bank/Lowe's credit account and contract and all of the associated rights
                                                                       16
                                                                            thereunder.
                                                                       17
Phone: (541) 342-2276 Fax: (541) 343-8059 Email: info@gatlawfirm.com




                                                                                                                                  2.
                                                                       18
                                                                               Defendant, an individual residing in Clackamas County Oregon, entered into a contract with
                                                                       19
                                                                            Synchrony Bank/Lowe's for a credit account. The credit account was issued to Defendant under
                       4023 W 1st Ave / P.O. Box 22338
                        Gordon, Aylworth & Tami, P.C.




                                                                       20
                                                                            the account number ************4184.
                              Eugene, OR 97402




                                                                       21
                               Attorneys at Law




                                                                                                                          3.
                                                                       22
                                                                               Synchrony Bank/Lowe's supplied the credit account to Defendant subject to an agreement to
                                                                       23
                                                                            repay all amounts charged to the account plus all associated costs and fees.
                                                                       24
                                                                       25                                                         4.

                                                                       26      Defendant thereafter used the credit account and became indebted to Synchrony Bank/Lowe's.

                                                                       27                                                         5.

                                                                       28      Synchrony Bank/Lowe's performed its obligations under the terms of the contract.



                                                                            Page 1 -- Complaint

                                                                                                                                              Exhibit 1 – Page 2 of 19
                                                                               Case 3:18-cv-00568-AC         Document 17-1        Filed 06/22/18   Page 3 of 19




                                                                        1                                                    6.

                                                                        2      Defendant breached the contract by failing to make payment(s) as agreed.           As a result,

                                                                        3 Defendant’s credit account was charged off for delinquency on April 12, 2015.
                                                                        4                                                   7.

                                                                        5      As a result of Defendant’s breach, Defendant is indebted to Plaintiff in the sum of $752.64.

                                                                        6 Plaintiff is also entitled to actual costs and disbursements.
                                                                        7
                                                                        8      WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

                                                                        9      1. The sum of $752.64;

                                                                       10      2. Plaintiff’s costs and disbursements incurred herein.

                                                                       11
                                                                                      4th
                                                                       12 Dated this _____ day of May, 2017.
                                                                       13                                              Gordon, Aylworth & Tami, P.C.

                                                                       14
                                                                                                                       ___________________________________
                                                                       15                                              [ ] Matthew R. Aylworth, OSB #070930
                                                                                                                       [ ] Eleanor Tami, OSB #105214
                                                                       16                                              [ ] Jessica A. Smith, OSB #144344
                                                                       17                                              [ ] Peter A. Zochowski, OSB #131605
                                                                                                                       Of Attorneys for Plaintiff
Phone: (541) 342-2276 Fax: (541) 343-8059 Email: info@gatlawfirm.com




                                                                       18                                              Trial Attorney not yet appointed

                                                                       19
                       4023 W 1st Ave / P.O. Box 22338
                        Gordon, Aylworth & Tami, P.C.




                                                                       20
                              Eugene, OR 97402




                                                                       21
                               Attorneys at Law




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                                                                            Page 2 -- Complaint

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                                                                  Page 4 of 19
                                      17CV19572




                         RETURN OF SERVICE
 State of Oregon               County of Clackamas                Circuit Court

Plaintiff:
Midland Funding, LLC                                          Case # 17CV19572

vs.

Defendant:
Carlton Chase, IV

For:
Gordon, Aylworth & Tami, P.C.
P.O. Box 22338
Eugene, OR 97402

Received by Vision Investigative Services, LLC to be served on Carlton Chase,
IV, 27730 S.E. McMinn Rd., Eagle Creek, OR 97022-9681,

I, Linda L. Joll, do hereby affirm that on June 20, 2017,

Defendant was served a true copy of the Summons and Complaint at the
address of 11490 SE Sunnyside Rd. Apt 35, Clackamas, OR 97015-5311, via
certified mail, return receipt requested, restricted delivery. Attached hereto as
Exhibit A is the certified mail receipt stamped by the US Post Office at Eugene,
OR and the certified receipt signed by the Defendant on June 20, 2017. A follow-
up mailing by first class mail occurred on June 27, 2017.

I am a competent person over the age of 18, a resident of the State of Oregon,
and not a party to this action. I hereby declare under penalty of perjury under the
laws of this State that the foregoing is true and correct.

                                            __________________________
                                            Linda L. Joll
                                            Process Server
                                            Vision Investigative Services, LLC
                                            P.O. Box 24005
                                            Eugene, OR 97402
                                            (541) 342-2276




                                                            Exhibit 1 – Page 4 of 19
          Case 3:18-cv-00568-AC     Document 17-1    Filed 06/22/18   Page 5 of 19




Date: June 21, 2017

NOEL JOHNSON:

The following is in response to your June 21, 2017 request for delivery information on
your Certified Mail™/RRE/RD item number 9236090179076110272497. The delivery
record shows that this item was delivered on June 20, 2017 at 3:52 pm in CLACKAMAS,
OR 97015. The scanned image of the recipient information is provided below.

Signature of Recipient :




Address of Recipient :



Thank you for selecting the Postal Service for your mailing needs.

If you require additional assistance, please contact your local Post Office or postal
representative.

Sincerely,
United States Postal Service




                                                                          EXHIBIT A
                                                              Exhibit 1 – Page 5 of 19
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        5                       IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                           FOR CLACKAMAS COUNTY
        6
               MIDLAND FUNDING, LLC,                                           Case No. 17CV19572
        7                                                     Plaintiff,
        8      vs.                                                           STATEMENT FOR COSTS AND
                                                                           DISBURSEMENTS FOR PLAINTIFF
        9      CARLTON CHASE, IV,                                                  (UTCR 5.080)
                                                       Defendant.
       10
               The undersigned attorney offers the following facts in support of an award of
       11 reasonable and necessary costs and disbursements:
       12 1. Plaintiff is entitled to the recovery of reasonable and necessary costs and
8059




       13      disbursements as authorized by ORCP 68A(2), including expedited service fees
               pursuant to ORS 20.115(2)(d). The costs, as detailed below, are billed directly to the
       14      client and are not overhead expenses.
       15 2.         Expedited Service was necessary and the service fees set forth below reflect the
                     actual costs of the service.
       16
                            Filing Fee:                       $158.00
       17
                            Service Fees (expedited service): $45.00
       18                   TOTAL:                            $203.00

       19 I hereby declare that the above statement is true to the best of my knowledge and
          belief and that I understand it is made for use as evidence in court and is subject to
       20 penalty for perjury.
       21                               24
                            Dated this ______day of July, 2017.
       22                                          Gordon, Aylworth & Tami, P.C.
       23
       24                                            ________________________________
                                                   [ ]Matthew R. Aylworth, OSB #070930
       25                                          [ ]Eleanor Tami, OSB #105214
       26                                          [ ]Jessica A. Smith, OSB #144344
                                                   [ ] Peter A. Zochowski, OSB #131605
       27                                          of Attorneys for Plaintiff
       -10

       28

             Page 1 - Statement for Costs and Disbursements
             Case No. 17CV19572

                                                                             Exhibit 1 – Page 6 of 19
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      5                   IN THE CIRCUIT COURT FOR THE STATE OF OREGON
                                      FOR CLACKAMAS COUNTY
      6

      7 MIDLAND FUNDING, LLC ,
      8                                                   Plaintiff,              Case No. 17CV19572
      9
          vs.
     10                                                                             SATISFACTION
          CARL TON CHASE, IV,                                                       OF JUDGMENT
     11                                               Defendant.
     12
                   Partial or
     13
                XX Full Satisfaction of Judgment made and entered in the entitled Court and Cause.
     14
     15         Dated this   ~day of September, 2017.
     16                                                                Gordon, Aylworth & Tami, PC




                                                                              ~
     17
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     19                                                              [ ] Matthew R. Aylworth, OS8#070930
                                                                     [] Eleanor Tami, OS8#105214
                                                                     yi1Jessica A. Smith , OS8 #144344
                                                                   ( []Peter A. Zochowski, OS8 #131605
                                                                     of Attorneys for Plaintiff
     22 State of OREGON
     23 County of Lane
            SIGNED AND SWORN before me, this
          named Attorney for Judgment Plaintiff.
     25

                                   OFFICIAL STAMP
                          SAMANTHA NOEL FISCHER
Q)
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c:
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                               COMMISSION NO. 961083
~    28                 tl'f COMMISSION EXPIRES APRIL 03, 2021




          Page - 1 - Satisfaction of Judgment


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            Case 3:18-cv-00568-AC                 Document 17-1 Filed 06/22/18          Page 13 of 19
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      5                   IN THE CIRCUIT COURT FOR THE STATE OF OREGON
                                     FOR MULTNOMAH COUNTY
     6
      7 MIDLAND FUNDING, LLC,
      8                                                  Plaintiff,              Case No. 17CV18244
      9
          vs.
     10                                                                             SATISFACTION
          ERIC MACCARTNEY,                                                          OF JUDGMENT
     11                                              Defendant.
     12
                   Partial or
     13
                XX Full Satisfaction of Judgment made and entered in the entitled Court and Cause.
     14
     15         Dated this c9.Q) day of October, 2017.

     16
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     18                                                               GQA~::G:,c
                                                                      [ ] Matthew R. Aylworth, OSB#070930
                                                                      ~eanor Tami, OSB#105214
                                                                      []Jessica A Smith , OSB #144344
                                                                      []Peter A Zochowski , OSB #131605
                                                                      of Attorneys for Plaintiff
     22 State of OREGON
     23 County of Lane
            SIGNED AND SWORN before me, this _.dQ_ day of
          named Attorney for Judgment Plaintiff.
     25

                                 OFFICIAL STAMP
                         SAMANTHANOELFlSCHER
Q)
                             NOTARY PUBLIC-OREGON
c                            COMMISSION NO. 961 083
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~    28                MY COMMISSION EXPIRES APRIL 03, 2021




          Page - 1 - Satisfaction of Judgment


                                                                                 Exhibit 1 – Page 13 of 19
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                                                                                                                   17CV35553




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                                                                                                    IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                                                       5                                       FOR CLACKAMAS COUNTY
                                                                       6
                                                                            MIDLAND FUNDING, LLC,                                       Case No. ____________________
                                                                       7
                                                                                                                   Plaintiff,                      COMPLAINT
                                                                       8 vs.                                                                 (For Breach of Contract)
                                                                                                                                                ORS 21.160(1)(a)
                                                                       9                                                                FOR A CLAIM LESS THAN $10,000
                                                                            LUANNE MUELLER aka LUANNE MULLER,                        SUBJECT TO MANDATORY ARBITRATION
                                                                       10                                                                   TOTAL CLAIM: $1,303.49
                                                                       11                                        Defendant.

                                                                       12
                                                                               Plaintiff alleges:              BREACH OF CONTRACT
                                                                       13
                                                                                                                                1.
                                                                       14
                                                                               Plaintiff is a limited liability company, which for good and valuable consideration purchased
                                                                       15
                                                                            Defendant’s Citibank, N.A./Sears credit account and contract and all of the associated rights
                                                                       16
                                                                            thereunder.
                                                                       17
Phone: (541) 342-2276 Fax: (541) 343-8059 Email: info@gatlawfirm.com




                                                                                                                                2.
                                                                       18
                                                                               Defendant, an individual residing in Clackamas County Oregon, entered into a contract with
                                                                       19
                                                                            Citibank, N.A./Sears for a credit account. The credit account was issued to Defendant under the
                       4023 W 1st Ave / P.O. Box 22338
                        Gordon, Aylworth & Tami, P.C.




                                                                       20
                                                                            account number ************1891.
                              Eugene, OR 97402




                                                                       21
                               Attorneys at Law




                                                                                                                             3.
                                                                       22
                                                                               Citibank, N.A./Sears supplied the credit account to Defendant subject to an agreement to repay
                                                                       23
                                                                            all amounts charged to the account plus all associated costs and fees.
                                                                       24
                                                                       25                                                       4.

                                                                       26      Defendant thereafter used the credit account and became indebted to Citibank, N.A./Sears.

                                                                       27                                                       5.

                                                                       28      Citibank, N.A./Sears performed its obligations under the terms of the contract.



                                                                            Page 1 -- Complaint

                                                                                                                                           Exhibit 1 – Page 14 of 19
                                                                              Case 3:18-cv-00568-AC         Document 17-1         Filed 06/22/18   Page 15 of 19




                                                                        1                                                    6.

                                                                        2      Defendant breached the contract by failing to make payment(s) as agreed.            As a result,

                                                                        3 Defendant’s credit account was charged off for delinquency on December 30, 2016.
                                                                        4                                                   7.

                                                                        5      As a result of Defendant’s breach, Defendant is indebted to Plaintiff in the sum of $1,303.49.

                                                                        6 Plaintiff is also entitled to actual costs and disbursements.
                                                                        7
                                                                        8      WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

                                                                        9      1. The sum of $1,303.49;

                                                                       10      2. Plaintiff’s costs and disbursements incurred herein.

                                                                       11
                                                                                      15
                                                                       12 Dated this _____ day of August, 2017.
                                                                       13                                              Gordon, Aylworth & Tami, P.C.

                                                                       14
                                                                                                                       ___________________________________
                                                                       15                                              [ ] Matthew R. Aylworth, OSB #070930
                                                                                                                       [ ] Eleanor Tami, OSB #105214
                                                                       16                                              [ ] Jessica A. Smith, OSB #144344
                                                                       17                                              [ ] Peter A. Zochowski, OSB #131605
                                                                                                                       Of Attorneys for Plaintiff
Phone: (541) 342-2276 Fax: (541) 343-8059 Email: info@gatlawfirm.com




                                                                       18                                              Trial Attorney not yet appointed

                                                                       19
                       4023 W 1st Ave / P.O. Box 22338
                        Gordon, Aylworth & Tami, P.C.




                                                                       20
                              Eugene, OR 97402




                                                                       21
                               Attorneys at Law




                                                                       22
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                                                                            Page 2 -- Complaint

                                                                                                                                          Exhibit 1 – Page 15 of 19
      Case 3:18-cv-00568-AC    Document 17-1 Filed 06/22/18      Page 16 of 19
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                                    17CV35553



                         RETURN OF SERVICE
 State of Oregon               County of Clackamas                Circuit Court

Plaintiff:
Midland Funding, LLC                                          Case # 17CV35553

vs.

Defendant:
Luanne Mueller aka Luanne Muller

For:
Gordon, Aylworth & Tami, P.C.
P.O. Box 22338
Eugene, OR 97402

Received by Vision Investigative Services, LLC to be served on Luanne Mueller,
5215 Bonita Rd., Lake Oswego, OR 97035-3209,

I, Linda L. Joll, do hereby affirm that on August 21, 2017,

Defendant was served a true copy of the Summons and Complaint at the
address of 5215 Bonita Rd., Lake Oswego, OR 97035-3209, via certified mail,
return receipt requested, restricted delivery. Attached hereto as Exhibit A is the
certified mail receipt stamped by the US Post Office at Eugene, OR and the
certified receipt signed by the Defendant on August 21, 2017. A follow-up mailing
by first class mail occurred on August 31, 2017.

I am a competent person over the age of 18, a resident of the State of Oregon,
and not a party to this action. I hereby declare under penalty of perjury under the
laws of this State that the foregoing is true and correct.

                                            __________________________
                                            Linda L. Joll
                                            Process Server
                                            Vision Investigative Services, LLC
                                            P.O. Box 24005
                                            Eugene, OR 97402
                                            (541) 342-2276




                                                          Exhibit 1 – Page 16 of 19
         Case 3:18-cv-00568-AC    Document 17-1    Filed 06/22/18   Page 17 of 19




Date Produced: 08/28/2017

GORDON AYLWORTH TAMI PC:

The following is the delivery information for Certified Mail™/RRE/RD item number 9236
0901 7907 6110 3941 82. Our records indicate that this item was delivered on
08/21/2017 at 12:03 p.m. in LAKE OSWEGO, OR 97035. The scanned image of the
recipient information is provided below.

Signature of Recipient :




Address of Recipient :




Thank you for selecting the Postal Service for your mailing needs. If you require
additional assistance, please contact your local post office or Postal Service
representative.

Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United
States Postal Service. It is solely for customer use.




Customer Reference Number: 6011363646

                                                                         EXHIBIT A
                                                           Exhibit 1 – Page 17 of 19
               Case 3:18-cv-00568-AC         Document 17-1 Filed 06/22/18     Page 18 of 19
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        5                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                          FOR CLACKAMAS COUNTY
        6
             MIDLAND FUNDING, LLC,                                       Case No. 17CV35553
        7                                               Plaintiff,
        8 vs.                                                          STATEMENT FOR COSTS AND
                                                                     DISBURSEMENTS FOR PLAINTIFF
        9 LUANNE MUELLER aka LUANNE MULLER,                                  (UTCR 5.080)
                                             Defendant.
       10
               The undersigned attorney offers the following facts in support of an award of
       11 reasonable and necessary costs and disbursements:
       12 1. Plaintiff is entitled to the recovery of reasonable and necessary costs and
8059




       13      disbursements as authorized by ORCP 68A(2), including expedited service fees
               pursuant to ORS 20.115(2)(d). The costs, as detailed below, are billed directly to
       14      the client and are not overhead expenses.
       15 2.       Expedited Service was necessary and the service fees set forth below reflect the
                   actual costs of the service.
       16
                           Filing Fee:                       $158.00
       17
                           Service Fees (expedited service): $45.00
       18                  TOTAL:                            $203.00

       19 I hereby declare that the above statement is true to the best of my knowledge and
          belief and that I understand it is made for use as evidence in court and is subject
       20 to penalty for perjury.
       21                               2
                           Dated this ______day of October, 2017.
       22                                         Gordon, Aylworth & Tami, P.C.
       23
       24                                           ________________________________
                                                  [ ]Matthew R. Aylworth, OSB #070930
       25                                         [ ]Eleanor Tami, OSB #105214
       26                                         [ ]Jessica A. Smith, OSB #144344
                                                  [ ] Peter A. Zochowski, OSB #131605
       27                                         of Attorneys for Plaintiff
       15

       28

            Page 1 - Statement for Costs and Disbursements
            Case No. 17CV35553

                                                                       Exhibit 1 – Page 18 of 19
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        5                 IN THE CIRCUIT COURT FOR THE STATE OF OREGON
                                      FOR CLACKAMAS COUNTY
        6
        7    MIDLAND FUNDING, LLC,
        8                                                     Plaintiff,            Case No. 17CV35553
        9
            vs.
       10                                                                             SATISFACTION
             LUANNE MUELLER aka LUANNE MULLER,                                        OF JUDGMENT
       11                             Defendant.
       12
                  Partial or
       13
               XX Full Satisfaction of Judgment made and entered in the entitled Court and Cause.
       14
       15      Dated this ----'-_day of February, 2018.

       16                                                           Gordon, Aylworth & Tami, PC



                                                                     ~~[
       17
       18
       19                                                           [ ] ~tthew R. Aylworth, OS8#070930
                                                                   .KfEleanor Tami, OS8#105214
                                                                    []Jessica A. Smith, OS8 #144344
                                                                    []Peter A. Zochowski, OS8 #131605
                                                                    of Attorneys for Plaintiff
       22 State of OREGON
       23 County of Lane
              SIGNED AND SWORN before me, this _ / _                       day of February, 2018 by the above
            named Attorney fo r Judgment Plaintiff.
       25

                                OFFICIAL STAMP
                          CHELSEA LYNN HAND
                           NOTARY PUBLIC-OREGON
<I.I
c:                          COMMISSION NO. 958061
~      28             MY COMMISSION EXPIRESJANUARY 19, 2021




            Page - 1 - Satisfaction of Judgment


                                                                                 Exhibit 1 – Page 19 of 19
